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Notarp Public for the State of Cal ifornia

Residing at My.Commission axpt wee Bae ae eee
Haprogn vo. ohn Kevin Moore, PO Box G19, Bigfork, MT, 59911 EXHIBIT

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